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                             UN ITED STA TES D ISTM CT COUR T
                             SOU THERN DISTRJCT OF FLORIDA

                                 Case N o.22-60204-CR -1G R

  U N ITED STA TES OF A M ERICA,

               Plaintiff,



  R OYA L A IR X SEU M ,lN C.,

               D efendant.


                                  W R IT O F EM CU TION

  TO : TH E UM TE D STA TES M AR SH A L

        On July 27,2023,ajudgmentwasentered illtheUrlited States DistrictCourtforthe
  Southern DistrictofFloridaairzfavorofthe United StatesOfAm erica and agninstthe defendant

 RoyalAirM usellm,Inc.,including anassessm entin thennaountof$400.00,an orderofrestitution

  intheamotmtof$4,000,000.00,arlda$1,000,000.00fme.(ECF No.24j.Thejudgmentremains
 unsatisfied atld hasaccrued $316,616.75 i!zinterestthrough October 15th,2024.Simple interest

  accruesonthejudgmentattherateof5.36%.Currently,nocostsareowed on thejudgment.The
 Defendarlt'slastlcnown.addressis10130NorthlakeBlvd.,STE 214-243,W estPalm Beach,FL

 37412.
        NOW ,TH EREFORE,YOU AIkE HEREBY COM M ANDED todeliverthepossession

 ofproperty to theUnited States,and to then satisfy thejudgmentby levying on the following
 property in which defendanthas asubstantialnonexemptinterestwhich m ay belevied upon for

 paymentoftheabovejudgment,described asfollows:(1)Lockheed M odelF104B Starfighter-
 AircraftRegistration Number65354- SerialNumber56-1296;(2)LearjetM odel23 -Aircraft
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  RegistrationNumber119BA -SerialNumbez23-0849and(3)LoclfheedM odelCF104D .-Aircrafl
  RegistrationNllmber10410 -SerialNllmber104632(herein,collectively,thecW ircraff'l.
        Y OU ARF,AI,SO COM M ANDED to levy upon a11Aircraftfixturesand otherpersonal

  property located insideorabouttheAircraA,and furtherto levy upon thefollowingproperty

  whereveritm ightbefoundfortheAircraft:

               a. A irfrnm e and engine.log-booksfrom thedateofilweption,asissued by eithera
                                      .




                   civilianmanufacturer(asidentifiedbythedateofissuanceoftheAirworthiness
                   CertificatebytheFAA orDAR.
                                            )oraU.S.militarycontractor.
                   AirworthinessCedificate,when applicable.

               c. AllyapprovedAircraftApprovedInspectionPrograms(AAIP).
               d. Civilian mldInilitaryparts,m aintenance,and overhalzlm anuals.

               e. Rotableandspareparts,includingpropellantsforrrtilitary ejection seats,Sflk
                   Drogue chutes,spare wheels and tires,instntm ents,and other grolmd-based

                   equipment(e.g.,tow bars,hydraulicmule,GrotmdPowerUrlitl.
                   Third-partyCAI
                                MP (ComputerizedAircraftM aintenanceProgram)repohs.
               g. Pilotoperating handbook.

               h. Pilotlogsfortheflight.

               i. Any InternationalTrafEcinArmsReguladons(ITAR)documentation (DSP-
                   61)relatedtotheimportoftheAizckaft ifapplicable.
                   Any existing squawk listsofcurrentm airltenance item sdue.

               k. Keysrelatedtoingress/egressand storagecompartm ents.
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           Y O U AR E Ai',SO C O M M A N DED to colled from the date hereof yolzr costs and

  experlsesand m akereturn ofthiswritwithin ninety days afterthedate ofissuanceiflevy isnot

  m ade,or,within ten daysafterthedate ofsaleofproperty on which levy ism ade.

           Y O U A RE FUR TH ER CO M M AN DED thatthe levy and sale shallnotexceed property

  reasonablyequivalentinvaluetotheaggregateamolmtofthejudgmentandcost.
           NOTICE TO DEBTOR PURSUM T TO 28U.S.C.1 3202 (b)
           You areherebynotifiedthatthepr'
                                         operty subjecttotheW ritofExecution isbeirlgtaken '
                                                                                           .
  by the United StatesGovernment,which hasacourtjudgmentin the abovecaptioned case,as
  described in theW rlt.
           In addition,you are hereby notified thatthere are exempticmsulzderthe 1aw which m ay

  protectsomeofthispropertyâom beingtaken bytheUnitedStatesGovernmentifthejudgment
  debtorcan show thatthe exemptions apply.Below isa sllmm azy ofthe exemptionswhich m ay

  aPP1y:

           Exemptionsavailableunderthe lawsoftheState ofFlorida aregenerally notavailableto

  afederalcrinninaljudgmentdebtorirlproceedingscomnnencedurldertheFederalDebtCollection
  ProceduresAct. Thefollowilagproperty is,however,exemptfrom levy underfederallaw:(1)
  wearing apparelandschoolbooks;(2)fuel,provisions,furnitureandpersonaleffects;(3)books
  andtoolsofatrade,business,orprofession;(4)lmèmploymentbenefits;(5)undeliveredmail;(6)
  cedainnnnuityandpensionpayments;(7)workmén'scompensation;(8)judgmentsf0rsuppol'
                                                                                tof
  minor children;(9) a mizlimlzna exempticm for wages,salaly and other income;(10)cel-taip
  sezvice-connecteddisabilitypayments;and(11)assistanceundertheJobTraillingPartershipAct.
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        Ifyouarethejudgmentdebtor,youhavearighttoaskthecourttoretul'
                                                                   nyourpropertyto
  youifyouthinkthepropel'tytheGovernmentistnking qualifiestmderoneoftheaboveexemptions

  orifyou tllinkyou donotowethem oney to theUnited StatesGovernm entthatitsaysyou do.

        lfyouwantahearing,youmustnotifythecoul'twithin20 daysafteryou receivetllisnotice.

  You mustm akeyolzrrequestin m iting,a'
                                       nd eitherm ailitordeliveritin person totheclerk ofthe

  coul'tatUnited StatesDistrictCourt,400N .M inm iAve.,8th Floor,M iam i,FL 33128.You m ay

  send acopy ofyourrequesttotheUnited StatesAttom ey'sOffice,ATTN:AU SA BrettR.Geiger

  at99 N .E.4111Street,M inm i,Florida 33132,so the Governm entwillknow you wantahearing.

  Thehearingwilltakeplacewithin 5 daysafterthe clerk receivesyou.
                                                                rrequest,ifyou ask foritto

 takeplace thatqtticldy,orassoon afterthataspossible.

        AtthehearingyoumayexplaintothejudgewhyyoubelievethepropertytheGovernment
 hastaken isexemptorwhy m u th11111you donotowethemoney totheGovenament.Ifyou donot

 requesta hearing within 20 days of receiving this notice,yottrproperty m ay be sold and the

 paymentusedtowardthem oney you owethe Governm ent.

        IfyouthinkyouliveoutsidetheFederaljudicialdistrictinwhichthecourtislocated,you
 m ay request,notlaterth= 20 daysafteryou receivethisnotice,thatthisproceeding to takeyour

 propertybetransferredby thecourttotheFedçraljudicialdistdctinwhichyoureside.You must
 m ake yourrequestirlwriting,and eithermailitordeliveriti.
                                                         lzperson to the clerk ofthecotu'tat

 Urlited StatesDistrictCourt,400N .M inm iAve.,81 Floor,M inp i,Florida 33128. You must

 also send acopy ofyourrequesttotheUnited StatesAttorney'sOffice at99 N .E.4th Street,STE

  300 M iam i,Florida33132,AT'IN :BretlR.Geiger,so the Governm entwillknow you wantthe

 proceedingtobetransferred.
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        Besureto keep acopy ofthisnoticeforyom'ownrecords.Ifyou haveany questionsabout

  your rights Or aboutthis procedure, m u should contact a lawyer, an office of public legal

  assistance,orthe clerk ofthe court.The clerk isnotperm itted to givelegaladvicebutcan refer

  you to othersourcesofinformation.

                                                  AN GELA E.N O BLE
                                                  CLERK OF COURT

                                                  UN ITED STATES DISTRICT COURT
                                                  SOUTHERN D ISTRJCT OF FLORD A

                                                   S.Carlson
  DA TE :Oct 21, 2024                      By:
                                                  Deputy Clerk




                                                   S.Carlson

                                                 Oct 21, 2024
